CaSe: lilB-CV-OlBSG-CAB DOC #Z 84-1 Filed: 07/05/18 l Of 2. Page|D #Z 1014

ATSCO HOLD!NGS CORP.
do P&F INDUSTRIES, INC.
445 Brcadhollow Road, Suite 100
Melville, Ncw \’orlt 11747
October 16, 2014
Yiel;l_.m_ail_
Rick Saballi (rsabath@q\mntarus.com)
Dear Rick:

Plesse accept this letter audits attachments as the Inventory Acknowledgment pursuant
to Section 2.3.2.].0f the Asset Purchase Agreement, dated August 13, 2014, between A'I‘SCO
HOLD[NGS CORP., HY-TECH MACHINB, INC., AIR TOOL SER.V[CE COMPANY. and

R.ick Sabath.

Coxnpletion of the inventory rollback has been extremely challenging and time
consuming given our frequent discovery of deficient inventory pcst-clcsing. As we are sure you-
lealize, these inventory valuation issues call into question the stated value of such items with
respect to GAAP and the overall accuracy of the financial statements provided to us in due

diligence

The attached liles detail the inventory rolled back to the effective date of the transaction
You will note that we applied a reserve to the total inventory valuation By way of summary the

reserve relates to the following:

(I) Per discussion with Michigan Pneumadc (MP), the ATA grinder inventory, which
totals $93,313, would require such substantial modification to be saleable that this inventory is

deemed to have no value.

(2) Despite having a recorded book value of $12,550.70, per MP there is no market for
the below two tools and they too are valueless.

. st.2902 As-ss-i qty@$é,sls.m = ss,sts.ct
- situ 2903 As-44- 1 qty @ss,'rs').ss = 35,737.66

(3) Certa.in Tochp product parts are unusable and non-conforming due to significant
leakage of coating across threads. Total estimated amounts:

- 70000-raptor mtr assembly $5,557.71 61 pcs to be scrapped

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¢ 222-RP2038-planet gear $ 227.04 172 pcs to be scrapped

» 224-RP2038-gear $ 108.27 27 pcs to be scrapped
- 2931-narrower 53,476.88 ls pa w be scmde
0 90A-RP §9,319.§0 175 pca to bc wrapped

Total identified to datc: $18,683.90

(4) Coat of labor will need to be incurred to re-work the following parts to make them
usable:

~ 2931-RAPOR-61 ll pcsneed re-work~ $1,100
0 Remaining Torcup parts estimated re-wcrk § 500
Total: $1,600

Additionslly, there has been an accounts receivable write off of Columbus Castings in the
amount of $27,082.53. Columbus Castings informed us that we should not expect any payment

in coitducting our review of the inventory, we have relied on your representations and
warranties in the Purchase Agreement, including the representations and warranties in Section
3.13 that the lnventory consists of a quality and quantity usable, and with respect to finished
goods, saleable, in the ordinary course cf business Our review of the inventory is still ongoing.
We reserve our right to bring additional claims if we have further reason to believe your
representations and warranties are inaccurate As oftoday, we believe the financial impact of the

items referred to above is:

Inventory Adjustment $126,152.60
Account Receivable Adjustment § 27,0§2,5§
Total: $153,235.13

Wclook forwardto hearingka ii'omyouatyoureariicstconvenlenccsothatwecan
resolve these matters promptly

ATSCO HOLDINGS CORP.

By: § L?.WM

seph A. Molino, Jr.
Vicc Presidenr

cc: Tad Cock (tad@eooksadorf`.com)

